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IN THE UNITED sTATEs DISTRICT CoURT 05_,/!,_
FoR THE wEsTERN DISTRICT oF TENNESSEE_ "‘
EASTERN DIvlsloN .~‘ 1

 

ANITA RHODES,
Plaintiff,

VS. No. 04-1 lOZ-T/An

ALLSTATE INSURANCE COl\/IPANY

and ACE AMERICAN INSURANCE
COMPANY,

\.,/\_/\_/\__/\-_./\_,/\_/\_/\._/\_/\_/

Defendants.

 

ORDER DENYING REQUEST FOR RECONSIDERATION

 

This action against defendants Allstate lnsurance Company and Ace Arnerican
lnsurance Company, alleging failure to pay insurance benefits and violation of the
Tennessee Consumer Protection Act, was filed by plaintiff Anita Rhodes on April 2, 2004.
Subsequently, on February 8, 2005, counsel for plaintiff was allowed to withdraw from
further representation In addition, plaintiff was given time to obtain new counsel and to
respond to the defendants’ pending motions for summary judgment However, plaintiff did
not obtain new counsel. Rather, on March 21, 2005, she filed a pro se motion for voluntary
dismissal, which was denied, without prejudice to refiling, for failure to comply with the

Court’s Local Rules.

This document entered on the docket sheet in cfo>m llance
with Rule 58 and,‘or_?Q (a) FF\CP on

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On April 29, 2005, plaintiff renewed her motion for voluntary dismissal. However,
less than ten minutes after that filing, the Court issued an order granting the defendants’
pending motions for summary judgment in that order, the Court noted that plaintiff had not
responded to the motions and found that the defendants were entitled to judgment as a
matter of law based on the unrefuted evidence in the record. The motion for voluntary
dismissal was denied on May 3, 2005, as the Court had ruled on the merits of the case.
Judgment was entered on the docket on May 5, 2005.

On May 31, 2005, plaintiff filed a request for reconsideration of the judgment and
denial ofher motion to dismiss Without prejudice She asks the Court to take into account
certain evidence that she contends is new, and which she has attached to the motion.

A motion to alter or amend the judgment under Rule 59(e) of the Federal Rules of
Civi] Procedure must be filed within ten days after entry of the judgment Plaintiff` s motion
was not filed within that time period. Therefore, the motion must be considered under Rule
60(b), which provides that a final judgment or order may be set aside for the reasons
enumerated in six subsections:

On motion and upon such terms as are just, the court may relieve a party or a

party’s legal representative from a final judgment, order, or proceeding for the

following reasons: (1) mistake, inadvertence, surprise, or excusable neglect;

(2) newly discovered evidence which by due diligence could not have been

discovered in time to move for a new trial ; (3) fraud , misrepresentation,

or other misconduct of an adverse party; (4) the judgment is void', (5) the

judgment has been satisfied, released, or discharged, or a prior judgment upon

which it is based has been reversed or otherwise vacated, or it is no longer

equitable that the judgment should have prospective application; or (6) any
other reason justifying relief from the operation of the judgment The motion

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shall be made within a reasonable time A motion under this subdivision

(b) does not affect the finality of a judgment or suspend its operation

Subsections (3), (4) and (5) of Rule 60(b) are clearly not applicable in this case, and
plaintiff has not asserted that her failure to respond to the motions for summary judgment
was inadvertent or excusable Therefore, based upon plaintiff s reference to new evidence,
the Court will consider whether she is entitled to relief under subsection (2).

There are three documents which plaintiff has attached to her motion. One of the
documents is a letter addressed to plaintiff, dated August ll, 2004, from Jerry Gist, Mayor
of Madison County, Tennessee. The letter relates a conversation Gist had with lack Hall,
Madison County Building Commissioner. Hall informed Gist that a visual inspection of
plaintiffs premises showed certain specific damagesl Hall told Gist that he had advised
plaintiff that any other damage would have to be determined by a structural engineer, but
that he also advised her that it was his opinion that the residence should be condemned A
second letter, also addressed to plaintiff, is from Walter Anderson, the professional engineer
who inspected plaintiffs residence at her request. 'I`he letter is dated August 19, 2004, and
states, in relevant part: “lf the storm on May 4, 2004 had not damaged the house, the house
would not have been condemned.” The final document is a memo to plaintiff from Marty
Clements with the Jackson-Madison County Emergency Management Agency. The memo
is undated, and confirms that plaintiff was claiming major damage from the May 4, 2003

tornadoes and had registered with the Federal Emergency Management Agency (“FEMA”).

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Regardless of the significance of these documents, they clearly do not constitute
“newly discovered evidence.” As each of the documents is addressed to plaintiff, it appears
that they were in her possession well before the motions for summary judgment in this case
were filed, and could have been timely submitted in opposition to those motions. Thus,
plaintiff is not entitled to relief under Rule 60(b)(2).

Even if the Court were to consider the documents submitted by plaintiff, they would
not be sufficient to warrant setting aside the grant of summary judgment The letter from
Gist does not establish that plaintiffs residence was condemned; it states only that it was
Hall’s opinion that the residence should be condemned Plainti ff has submitted no actual
condemnation notice. Anderson ’s statement regarding the “condemnation” of the house also
is not supported by any official notice. The memo from Clements is not particularly
relevant, as it only confirms plaintiffs registration with FEMA.

The “catch~all” provision of Rule 60(b), subsection (6), provides that the Court may
set aside a judgment for “any other reason justifying relief.” However, this provision
“applies only in exceptional and extraordinary circumstances which are not addressed by the
first five subsections.” links v. AlliedSignal, Inc., 250 F.3d 381, 387 (6“‘ Cir. 2001); l_°i_er@
v. United Mine Workers of America Welfare & Retirement Fund For 1950 & 1974, 770
F.Zd 449, 451 (6th Cir. 1985). Such exceptional and extraordinary circumstances are found
only in “unusual and extreme situations where principles of equity mandate relief.” Q_llg;_y_.

Henrv & Wright Corn., 910 F.Zd 357, 365 (6‘“ Cir.l990) (emphasis in original). The

 

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circumstances of this case do not constitute such an extreme situation Therefore, plaintiff
also is not entitled to relief under Rule 60(b)(6).
For the foregoing reasons, plaintiff" s request for reconsideration is DENIED.

IT lS SO ORDERED.

WL~W

JA 's D. ToDD
ED sTATEs DIsTRICT JUDGE

 

 

 

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TAET

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UNITED DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 1:04-CV-01102 was distributed by fax, mail, or direct printing on
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Honorable .l ames Todd
US DISTRICT COURT

